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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                                    CASE NO. 08-CV-80797

     VISION MEDIA TV GROUP, LLC
     a Florida Limited Liability Group

            Plaintiff,

     vs

     LESLIE RICHARD personally and
     LESLIE RICHARD d/b/a THEOKOBOX.COM,

            Defendants.

     _________________________________________/

     NOTICE OF PLAINTIFF’S VOLUNTARY DISMISSAL OF COMPLAINT WITH
                               PREJUDICE

     The Plaintiff by and through the undersigned Counsel, hereby voluntarily dismisses, with
     prejudice, the complaint filed in the above-captioned matter.

     I hereby certify that on October 7, 2008, I electronically filed the foregoing document
     with the Clerk of Court using the CM/ECF. I also certify that the foregoing document is
     being served this day on opposing counsel both via electronic filing notices and e-mail
     and particularly a true and correct copy of this pleading has been furnished to Judy
     Mercier, Esq..by U.S. Mail and electronic mail, 200 South Orange Avenue, Suite 2600,
     Orlando, Florida 32801.


     Dated__________________                     /s/Lee E. Levenson, Jr.
                                                 Lee E. Levenson, Jr. (FBN 2429)
                                                 Florida Bar No. 2429
                                                 634 E. Ocean Avenue
                                                 Boynton, Beach, Fl 33435
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